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AO 91(Rev.11/11) Cri
                   minalComplaint

                                U M TED STATESD ISTRICT C OURT                                    FILED BY                        D.C.
                                                        forthe
                                             Southern DistrictofFlorida                                      Apr
                                                                                                               k 3g 2225
                                                                                                              ANGELA E.NoBua
               United StatesofAmerica                                                                        cLERhtU,S.DIST,c'E
                           V.                                                                               s.D.OFIL-A!-FILII
                                                                                                                            JD.
                                                                 CaseNo.
              PETER EDW ARD MARIN,
                                                                           25-M J-6267-VALLE



                      Defendantls)

                                         CR IM INA L C O M PLAIN T
        1,thecomplainantin thiscase,statethatthefollowing istrueto thebestofmy knowledgeand belief.
Onoraboutthedatets)of February,2025throughApril28,2025, inthecountyof                       Broward                  inthe
   Southern    Districtof        Fl
                                  orida         ,thedefendantts)violated:
           CodeSection                                             OffenseDescri
                                                                               ption
21U.S.C.Sections841(a)(1)and             Possessionw i
                                                     th lntentto Distribute a Controlled Substance
(b)(1)(A)                                (Methamphetamine)




        Thiscriminalcomplaintisbased onthesefacts:
See attached Affidavi
                    t.




        d Continuedontheattachedsheet.

                                                                     l .            1-7%     .
                                                                                  CtvhwIainakt'
                                                                                              ssignature
                                                                               DanielRengifo,DEA TFO
                                                                                   Primed nameand title

Swornto and subscribedbeforem ein chambers.

Date:             Do >                                                              Judge'
                                                                                         sâ'/gzl
                                                                                               tm /
                                                                                                  re

City and state:               FortLauderdale,Florida                 Alicia 0.Valle,United States Magistrate Judge
                                                                                   Printed ntwpcand title
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                                              M FD A W T

          1,DanielRengifo,being firstduly sw orn,hereby depose and state asfollows:

                          G TR OD UCTION AND AG EN T BACK G RO UND

                     Thisaffidavitisbeing subm itted in supportofa crim inalcom plaintwhich charges

   Peter Edw ard M AR IN w ith Possession w ith lntent to D istribute a Controlled Substance

    (methamphetamine), in violation of Title 21,United States Code, Sections 841(a)(1) and
    (b)(1)(A).
                     1am aTask Force Officer(TFO)with the Drug EnforcementAdministration
    ((&DEA'')and haveservedin thiscapacity sinceOctoberof2023.Currently,lam assignedto
   Enforcem entGroup 6 in theM iam iField Division.1am also a Detective forthe Broward County

    Drug Task Forcew orking fortheBrow ard Sheriff'sOfficeand haveserved such a capacity since

    Septem ber 2022.A s a m em ber of the Broward County D rug Task Force,I have worked on

    num erous narcotic related investigations,som e in an undercovercapacity.

                     O n the investigations 1 participated in,m ulti-kilogram seizures have occurred.

    D uring m y undercovercareer,Ihave been able to initiatecrim inalinvestigationsthathave led to

    seizures oflarge quantities ofcurrency,vehicles,narcotics,and firearm s.Ihave also w orked in

    an undercovercapacity where 1prim arily spoke in Spanish to facilitate the undercoverrole lwas

    pol-trayjng. '

                     Ihavereceived form alschooling in narcoticsrelated investigationsincluding,but

    not lim ited to,successful completion of the N arcotics and D angerous D rugs 40-hour course,

    several undercover classes offered by HIDTA (Undercover Operations, Drug Conspiracy
    Investigations,DrugParcellnterdiction andDelivery).1have also taken the40-hourDEA basic
    investigatorscourse,w hich included a section involving undercoveroperations.
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                    I have written and participated in num erotls narcotics search warrants.l have

   w orked with several federal entities including the Federal Bureau of Investigation, Drug

    Enforcem entAdm inistration,H om eland Security Investigations,Custom sand BorderPatrol,and

   the Bureau ofA lcohol,Tobacco,Firearm s and Explosives.M y investigations have resulted in

    individualsbeing apprehended and latersentenced to prison term s.

                    As such,lam a 1aw enforcem entofficerofthe United States,w ithin the m eaning

    of Title l8,United States Code, Section 2510(7),who is empowered to conduct criminal
    investigationsotland tomakearrestsfor,offensesenumerated in Title 18,United StatesCode,
    Section 2516.

                    1 subm itthis Affidavit based on infonuation lcnow n to m e personally from the

    investigation,as w ellas inform ation obtained from others who have investigated the m atteror

    have personalknow ledge ofthe facts herein. Because thisA ffidavitis being subm itted for the

    lim ited pum oseofestablishing probable cause fortherequested w arrant,itdoesnotincludeevery

    factknow n to m e aboutthismatter.

                                    Probable Cause:Background

           8.       During February 2025,a BSO confidentialsource (herein identified asthe CS)
    contacted B SO Detective H .Castro and advised that a m etham phetam ine D rug Trafticking

    Organization (DTO)was looking fora buyerin South Floridato sellfilty (50)kilogramsof
    m ethamphetam ine.The CS,underlaw enforcelnentdirection,was instructed to arrange a phone

    callbetweenthedrugtraffickersandDetectiveCastro(actinginanundercovercapacity::UC'')
    to furtherthe investigation.
                    On Saturday,February 23rd72025, Detective Castro received a FaceTim e group

    callfrom theCS and m em bersoftheDTO.Them em bersoftheDTO were lateridentified asK .J.
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    andPeterEdwardMARIN (hereinaûer((MAR1N'').DuringtheFaceTimephonecall,Detective
    CastrowasabletodetermineK.J.wasusingphonenumber+1(470)471-7196,whileMAlkm
    wasusingphonenumber+1(256)348-9626.DuringtheFaceTimephonecall,theCSintroduced
    D etective Castro as a potentialdrug traffickerfrom south Florida.W hile the FaceTim e callwas

    occurring,Detective Castro was only able to see M ARIN 'S face.The m em bers of the DTO

    discussedselling fifty (50)kilogramsofcrystalmethamphetamineto DetectiveCastro,butdid
    notprovidea totalprice atthe tim e.

                   MARIN advised that he was currently holding ten (10) kilograms of
    methalnphetamine,which he offered to sellto Detective Castro for$3,500 each if Detective
    Castro w as willing to travelto A tlanta, Georgia to pick them up.Detective Castro inform ed

    M A RIN,due to logisticalissues,Detective Castro w asunable to travelto Atlanta now .Detective

    Castro told M A'
                   RIN they w ould discuss conducting the m etham phetam ine drug dealata later

    tim e.
             11.   On M onday,February 24th, 2025,Detective Castro made a recorded phone callto

    MARIN via phonenumber+1(256)348-9626.During the conversation,they discussed the
    logisticsofthedrugtransaction.DetectiveCastroasked MAR.
                                                          m ifMARIN couldsendone(l)
    kilogram ofcrystalmethamphetamine.MAIUN saidhewouldbeabletosendone(1)kilogram
    ofmethamphetamineviathemailinexchangefor$5,000.00.M ARIN toldDetectiveCastrothat
    he could send them oney digitally to M A RIN 'SZelleorCashApp.

             l2.   ln the follow ing days,D etective Castro provided the CS with a BSO confidential

    addressthatthe CS could fonvard to the DTO.

             13.   On Tuesday,M arch 18th, 2025,the CS was provided a FedEx receipt for an

    overnightdelivery to the nam e and addressthatD etective Castro had provided.Thereceiptw as
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    sentto the CS by K .J.

           14*    On Thursday,M arch 20th) 2025.; Detective Castro retrieved the parcelfrom a

   B SO undercoverm aillocation and transported itto aBSO secure evidence locker.

                   On Friday,M arch 21St,2025,D EA TFO Det.Rengifo and D etective Castro

   opened the box and retrieved approxim ately 2.05 kilogram s of suspect crystal

    m ethamphetam ine,w hich w ere contained w ithin a sealed m etal cannister. DEA TFO Det.

   Rengifo rem oved a sm allsam ple of m etham plzetam ine for testing purposes.The sam ple w as

   placed inside ofaD EA -issued m etham phetam ine testkit,w hich yielded positive restlltsforthe

   presence ofm etham phetam ine.

           16.    After receiving the parcel, which contained the m ethamphetam ine,D etective

    Castroplaced aFaceTim e callto M ARIN .D etective Castrotold M A lkm he washappy w ith the

   quality of the m etham phetam ine.M AR.
                                         IN im m ediately asked Detective Castro if D etective

   Castro realized           had senttwo (2)kilogramsofmethamphetamine instead ofone(1)
    kilogram ofmetham phetam ine.

                  M ARIN told Detective Castro thatM AR.
                                                       IN didn'tfeellike opening the cannister

   to remove one (1)kilograln ofmethalnphetamine.MARIN stated he sentthe cannisterto
   Detective Castro exactly in the m anner he had received it,m eaning each cannister already

   containedtwo(2)kilogramsofmethamphetamine.DetectiveCastrotoldMARIN thatDetective
   CastrowouldsendMARIN the$5,000foronlyone(1)kilogram,andwouldpaytheremaining
   balance w hen they completed the biggertransaction foreither20 kilogram s or 50 kilogram s of
   crystalm etham phetam ine.

                  Detective Castro asked MARIN to provide an account to send the $5,000.
   M ARIN told D etective Castro to send the m oney to M ARIN 'S cellphone via Zelle,and to his


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    Cashapp using the name çscrypls''.During the same conversation,Detective Castro told
    M AIU N that Detective Castro had accessto large quantities ofcocaine,ifM A ll.
                                                                                  lN would be

    interested in exchanging products.

           19.    A few hours later,D etective Castro received a phone callfrom M ARIN .D uring

    the conversation, M ARIN told D etective Castro to hold on to the paylnent for the second

    kilogram of m etham phetam ine due to M AIUN being interested              exchanging his

    m etham phetam ine for D etective Castro's cocaine. M A IU N also stated he w ould pay the

    difference.

           20.    Later that day at approxim ately 1520 hrs., Sergeant J. Augustus utilized an

    undercoverBSO Zelleaccountto makean initialpaymentforthenarcoticstransaction.$2,000
    of DEA O fficiallnvestigative Funds were transferred to M ARIN 'S Zelle account using the

    phonenumberM AR.IN provided(2563489626).
                  On M onday,M arch 24th, 2025,atapproxim ately 0935 hrs.,SergeantA ugustus

    utilized an undercover BSO Zelle account to m ake a secondary paym ent for the narcotics

    transaction.$2,000 ofDEA OfticialInvestigative Funds were transferred to M ARIN'SZelle

    accountusingthephonentlmber              provided(2563489626).
                  On W ednesday, M arch 26th 2025, at approxim ately 1111 hrs., Sergeant

    A ugustus utilized an tlndercoverBSO Cashapp accountto settle the rem aining balance forthe

    narcoticstransaction by sending $1,000.00 ofDEA Officiallnvestigative Fundsto MAlkm 's
    CashappaccountusingCashApp nameçsscrypls''.
                                         '
                                         Continued Probable Cause:

                  On April25,2025,atapproxim ately 1215 hours,Detective Castro received atext

    message from M A RIN advising that           w as planning on travelling to South Florida on
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    eitherSunday(04/27/25)orM onday(04/28/25)tosellDetectiveCastroten (10)kilogramsof
    m etham phetam ine.Detective Castro agreed to the drug dealand advised he w ould await his

    arrival.

            24.    On April28,2025,Detective Castro received atextm essage from             advising he

    wasrunning alittlebehind butwould be arriving around 2000 hours.Detective Castro laterspokewith
    M ARTN,who stated he was driving down and was planning on staying close to the FortLauderdale

    airport.DetectiveCastrotoldM ARIN hewould provideM ARIN witha hotelclosetotheairport,where

    they couldmeetto facilitate/completethedrug deal.W hilethey continuedtotalk,M ARIN toldDetective

    Castro thatthe methamphetaminewasstored in thesame style cannisters astheprevious cannistershe

    sentviathe mail.

            25.    Onceitwasdetenuined           N wastravelling viavehicleand would beflyingback to

    Atlanta,Georgiathe following day,DEA TFO Det.Rengifo was able to locate the carrentalcom pany

    M ARIN usedtorentaredDodgeRam 1500bearingFLtag#QZUN83.DEA TFO Det.Rengifowasthen
    able to track the listed vehicle asthevelzicle travelled south on the Florida Turnpiketoward Broward

    County.

            26.    M embersoflaw enforcement,includingtheDEA and BSO,briefed atapre-determ ined

    location and discussed the operation which would occur.Detective Castro provided           with an

    addressadvantageous forlaw enforcement,to meetM ARIN to complete the methamphetam ine drug

    deal.

            27.    M ARIN agreedtomeetatthislocation andadvisedhewould bearriving within anhour.
    DEA and BSO were able to establish surveillance around tlze provided address awaiting M ARIN 'S

    arrival.Detective Castro also arrived atthe predetennined deallocation driving a BSO confidential

    vehicle.Detective Castro was also provided with covel'
                                                         taudio/video equipment,which allowed law
    enforcementtom onitorthetransaction asittranspired.

            28.    Atapproxim ately 1940 hours,MA RIN anived attheprovided addressdriving the red
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   Dodge Ram as a sole occupant.M ARIN parked along the passenger side of Detective Castro's

   confidentialvehicle.Detective Cœstro and M ARIN then m etwith each otherin the parking 1otwhere

   M AIU N handed overaFedEx box to Detective Castro,which M ARIN had störed inthebackseatofthe

   DodgeRam hewmsdriving.

          29.    Detective Castro took possession ofthe FedEx box and placed itin the hatch ofthe

   confidentialvehicle.Detective Castro then openedthe FedEx box and removed one(1)ofthemetal
   cannisters.BothDetectiveCmstroand M AIUN entered theconfidentialvehicletoallow DetectiveCastro

   toinspectthequality ofthemetham phetam ine.OnceDetectiveCastroopenedthecannisterand inspected
   the methamphetamine,DetectiveCastro provided the take down signaland M        wasapprehended

   withoutincident.

                 OnceM AIUN wasin custody,M ARIN requested an atlorney.lnsideoftheFedEx box,

   1aw enforcementoftkerslocatedatotaloffive(5)cannisters,toincludetheone(1)cannisterDetective
   Castro had opened.The calmisterswere opened and atoGlapproximate weightof 10.04 kilogramsof

   suspected methamphetaminewere found.DEA TFO Rengifo removed asmallsam pleofthe stlspected

   metham phetam ine from one ofthe cannistersand used a BSO issued methamphetamine feld testkit,
   which yielded positiveresultsforthepresenceofm ethamphetamine.




                           ESPACE INTENTIONALLY LEFT BLANK)




                                                 7




                                                                                                     1
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                                                                                                     !
                  Based on the aforementioned facts,lrespectfully submitthatthere isapmbabl
                                                                                          pcauseto
    supportthe arrest of Peter Edward M ARIN forPossession W ith Intent to Distribute a Controlled

    Substance (methamphetamine),in violation ofTitle 21,United StatesCode,Sections 84l(a)(1)and
    (b)(1)(A).


          FURTH ER Y o UR AFFIANT SAITH NAU GH T.


                                                              1TW &
                                       D NIE      G   ,TA SK FORCE OFFICER
                                       DRUG EN FO RCEM EN T ADM IN ISTRATION

   Attested to by the applicantin accordance with% the requirem entsofFed.R.Crim .P.4.l
   inChambersonthisRV dayof                        ,2025.

                      N


   VONORABLEALICIA 0.VALLE
   UNITED STA TES M AG ISTM TE JU DGE
